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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 AMANDA KUHL,                              )
 and JOSHUA KUHL,                          )
                                           )
                            Plaintiffs,    )
                                           )
 vs.                                       )      Case No. 15-cv-1007-MJR-DGW
                                           )
 GEORGE SALIBA,                            )
                                           )
                            Defendant.     )

                           JUDGMENT IN A CIVIL ACTION

 REAGAN, Chief Judge:

 This case came before the Court for jury trial that began with jury selection on July 19,
 2017, continued with evidence presentation the week of July 24, 2017, and culminated in
 a jury verdict on July 27, 2017.

 Pursuant to the jury verdict rendered on July 27, 2017 (Doc. 69), judgment is hereby
 ENTERED in favor of Defendant GEORGE SALIBA and against Plaintiffs AMANDA
 KUHL and JOSHUA KUHL.


 IT IS SO ORDERED.

 DATED July 28, 2017.
                                          JUSTINE FLANAGAN, Acting Clerk of Court
                                          s/ Reid Hermann
                                          Deputy Clerk



 Approved: s/ Michael J. Reagan
           Michael J. Reagan
           United States District Judge



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